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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


GREENBUSH BREWING CO., a Michigan
Corporation, MICHIGAN CIDER
ASSOCIATION, a Michigan Nonprofit
Corporation, FARMHAUS CIDER CO., a               No. 1:19-cv-536
Michigan Corporation and VANDER MILL,
LLC, a Michigan Limited Liability Company,
                                                 HON. PAUL L. MALONEY
      Plaintiffs,
                                                 MAG. PHILLIP J. GREEN
v.

MICHIGAN LIQUOR CONTROL
COMMISSION, ANDREW J. DELONEY,
Chairman, in his official capacity; KURT COX,
Grand Rapids District Supervisor, in his
official capacity and JON REEDER, a
Regulation Agent and Investigator, in his
official capacity,

      Defendants.

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Christopher J. Gartman (P83286)                  Jason A. Geissler (P69322)
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       DEFENDANTS’ MOTION FOR PROTECTIVE ORDER STAYING
          DISCOVERY PURSUANT TO FED. R. CIV. P. 26(c)(1).


       For the reasons below and for those set forth in the accompanying Brief,

Defendants Michigan Liquor Control Commission, Andrew Deloney, Kurt Cox and

Jon Reeder, by counsel, move for a protective order staying discovery pending

disposition of the Defendants’ Motion to Dismiss pursuant to Fed. R. Civ. P.

26(c)(1).

       1. On July 3, 2019, Plaintiffs filed a complaint requesting injunctive,

            declaratory, and monetary relief.

       2. Plaintiffs’ legal claims for relief against the Defendants are contained

            within three Counts. Count I asserts a claim of federal preemption of

            state laws. Count II asserts a claim that Mich. Comp. Laws §§

            436.1109(1) and 436.1204a are void for vagueness. Count III asserts a

            claim that Defendants violated the Fourth Amendment of the United

            States Constitution by seizing kegs of wine during an administrative

            inspection at Plaintiff Greenbush Brewing Co.

       3. On August 1, 2019, the Defendants filed a Motion to Dismiss pursuant to

            Fed. R. Civ. P. 12(b)(6) arguing that Plaintiffs’ complaint be dismissed for

            failure to state a claim upon which relief can be granted. As explained

            more thoroughly in Defendants’ Brief and Reply Brief in support of its

            Motion to Dismiss, Plaintiffs’ federal preemption claim fails because they

            cite federal laws that are not in the same field and do not conflict with the


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       state laws at issue. Likewise, Plaintiffs’ vagueness claim fails because

       they do not show that Mich. Comp. Laws §§ 436.1109(1) and 436.1204a

       cannot be understood by persons of ordinary intelligence and lack

       appropriate standards to prevent arbitrary enforcement. Finally,

       Plaintiffs’ Fourth Amendment claim fails because the Defendants’ seizure

       was authorized by the closely regulated industry exception to the warrant

       requirement and meets the criteria established by the Supreme Court in

       New York v. Burger, 482 U.S. 691 (1987).

    4. On October 8, 2019, with Defendants’ dispositive motion pending, and

       prior to any scheduling conference, the Plaintiffs served interrogatories,

       requests to produce, and requests for admissions on Defendants.

    5. Until this Court rules on Defendants’ pending dispositive motion and

       determines that Plaintiffs have a viable legal theory upon which to

       proceed, Defendants should be relieved of the time, burden, and expense

       involved in responding to interrogatories, document requests, and

       admission requests pursuant to Fed. R. Civ. P. 26(c)(1).

    6. Defendants should not be faced with the burden and expense of discovery

       when they have failed to plead cognizable legal claims, see Mitchell v.

       McNeil, 487 F.3d 374, 379 (6th Cir. 2007).

    7. Moreover, Plaintiffs discovery requests have been served prematurely

       pursuant to Fed. R. Civ. P. 26(d)(1). No Rule 26(f) conference has taken

       place, this is not a proceeding exempted from initial disclosures, and



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         discovery has not been authorized by the Federal Rules of Civil Procedure,

         a stipulation, or court order.

      8. Counsel for the moving Defendants certifies that he contacted Plaintiffs’

         counsel in good faith to seek concurrence in the relief sought herein and

         his request was denied, thereby necessitating this motion.



       WHEREFORE, Defendants respectfully request that this Court grant their

Motion for a Protective Order and stay discovery until such time as the Court

renders a decision on Defendants’ pending Motion to Dismiss.



                                              Respectfully submitted,

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                                              Attorney General

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Dated: October 29, 2019




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